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               EXHIBIT 02
 HQ H307905 Internal Advice Ruling
         (Aug. 17, 2020)
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                                                                         U.S. Customs and
                                                                         Border Protection


                                        HQ H307905

                                      August 17,2020

CLA-2 OT:RR:CTF:EMAIN H307905 PF

CATEGORY: Classification

TARIFF NO.: 9405.50.40

U.S. Customs and Border Protection
Consumer Products and Mass Merchandising Center
Validation and Compliance Division, Team 038-4
1100 Raymond Blvd.
Newark, NJ 07102

Attn: Amy Arnold, Supervisory Import Specialist

RE:    Request for Internal Advice; Classification of Tritium Sight Inserts

Dear Ms. Arnold:

        This is in reference to your request for internal advice, initiated by counsel for
Trijicon Inc. ("requestor"), pertaining to the tariff classification, under the Harmonized
Tariff Schedule of the United States ("HTSUS"), of tritium sight inserts. Our decision
follows.

FACTS:

        The subject merchandise are tritium sight inserts, which are comprised of tritium
gas stored within a glass container and interior phosphor coating. The tritium within the
sight inserts emits beta radiation, which in turn activates the phosphor and permits it to
be visible in the dark, even in the absence of an external power source. The tritium sight
inserts are typically imported as assembled components, which Trijicon uses as inserts
within a range of firearm sights and riflescopes to serve as an aiming aid. These tritium
sight inserts come in two primary configurations: cylindrical tritium sight inserts used
with iron sights and rectangular tritium sight inserts used with riflescopes. The
cylindrical tritium sight insert is inserted into a round chamber within an iron sight while
the rectangular tritium sight insert is affixed with glue to a smooth surface within the
interior of the riflescope assembly. Both sight inserts function in the same way and are
not mounted on any type of sight upon importation.




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       The cylindrical tritium sight inserts feature a glowing glass tube that is further
encased in a metal housing. A crystal cap abuts the end of the tube and protects the
glass tube within the apparatus. It is made of crystal instead of metal to permit the
glowing beta-activated phosphor within the housing to remain visible to the user of the
firearm. The glowing phosphor is visible to the user of the firearm as an alignment
guide, in the form of dots or other patterns (often green or blue, but also other colors,
depending on the phosphor used) at night or in low-light conditions. At night, the
phosphor appears integral with the sight, and takes the place of the painted dot visible
during daylight.

       The requestor provided a labeled image of the cylindrical tritium sight insert as
follows:




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                                                                                  Tritium sight tnMHi: tompQnents
                                                                                  (entorg&dl




                                                                                  contalh\ng
                                                                                  Mtium and
                                                                                  phosphor


       Trijicon's iron sights contain tritium sight inserts at the center of the front sight
post and two points along the "U" of the rear sight, with the crystal cap visible to the
person looking down the sight of the firearm. The yellow or green tritium sight insert is
warranted to glow for twelve years from the date of original manufacture; without the
need for further intervention; orange tritium sight inserts are warranted for five years.

        The rectangular tritium sight inserts feature the same key components as the
cylindrical sight inserts. The rectangular sight inserts are comprised of tritium gas, a
glass ampule, and interior phosphor coating. The rectangular tritium sight inserts are
further processed with an additional manufacturing step not present in the cylindrical
insert, which is that white paint is added to five of six of their exterior surface. The white
paint helps ensure that the sight aid is sufficiently visible in the riflescope's reticle
pattern. After importation, an optical fiber is affixed to the one unpainted side of the
rectangular sight insert that permits the firearm user to see reticle patterns in the center
of the riflescope.



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        The requester provided an image of the rectangular tritium sight insert as follows:




                                                         Optical           Tritium si1ht insert
                                                         fiber             comf}on ents1
                                                                                             Tritium gas
                                                                                           ,c.. •••·•··   ,·.cccc,:-;·-:,·:::~




                                                                           Glass
                                                                           contalner
                                                                           [painted white on at! sides
                                                                           except that facin1 fiberl




The expected lifespan of the rectangular tritium sight inserts used within riflescopes is
longer than that of the cylindrical insert. The rectangular insert is warranted to glow for
fifteen years from the date of original manufacture, without the need for further
intervention.

        On the requester's website tritium is described as follows:

        Tritium illuminates the aiming point in low-light conditions without batteries.
        Tritium is a radioactive isotope of hydrogen. Beta rays from the tritium hit
        phosphors to create the glow. Tritium has a half-life of 12.5 years, which means
        that in that time, the lamp will be as bright as it was originally. 1

In a supplemental submission to our office, the requester provided the following
description of the subject merchandise:

        The trigalight glass tubes consist of hermetically sealed elements that glow
        visibly for decades without external energy supply - i.e. without electricity,
        battery, but also without sunlight. mb-microtec provides a 24/7 lighting guarantee
        for ten years. trigalight works similarly to a cathode ray tube, which was formerly
        used in television screens. like TV-CRT, our lights consist of a glass housing or
        a sealed glass container. The inner walls of these glass tubes are coated with a
        thin coating of phosphorescent dye. This powder (zinc sulfide) has the ability to
        convert electrical energy into light. Trigalight's electrical energy is generated by
        tritium gas, a low beta radiation emitter.




1 See https:/hivwwJriiicon"com/support/tedmical-G!ossary#Tritium (last visited August 7, 2020).


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In addition, the requester provided the following description of the "Trijicon Bright
& Tough Night Sights" from their website:

        Trijicon Bright & Tough Night Sights are three-dot iron sights that increase night-
        fire shooting accuracy by as much as five times over conventional sights. Equally
        impressive, they do so with the same speed as instinctive shooting - and without
        the need for batteries. Housed in a metal body and cushioned within silicone
        rubber, Bright & Tough Night Sights feature a unique shock-resistant design.
        Each lamp is capped with a sapphire jewel to help evenly distribute the light while
        protecting the lamp from solvents and puncture. Contained within aluminum
        cylinders for additional protection, the lamps are mounted on silicone rubber
        cushions to withstand shock and heavy recoil. Green lamps are warranted for 12
        years from the date of manufacture. 2

ISSUE:

       Whether the tritium inserts are classified in heading 9013, HTSUS, as telescopic
sights for fitting to arms, as other devices of heading 9013, HTSUS, or in heading 9405,
HTSUS, as lamps and lighting fittings.

LAW AND ANALYSIS:

        Merchandise imported into the United States is classified under the HTSUSA.
Tariff classification is governed by the principles set forth in the General Rules of
Interpretation (GRls) and, in the absence of special language or context which requires
otherwise, by the Additional U.S. Rules of Interpretation (AUSRls). The GRls and the
Additional U.S. Rules of Interpretation are part of the HTSUS and are to be considered
statutory provisions of law for all purposes.

       GRI 1 requires that classification be determined first according to the terms of the
headings of the tariff schedule and any relative section or chapter notes. In the event
that the goods cannot be classified solely on the basis of GRI 1, and if the heading and
legal notes do not otherwise require, the remaining GRls 2 through 6 may then be
applied in order.

        The HTSUS provisions under consideration in this case are as follows:

9013            Liquid crystal devices not constituting articles provided for more specifically in
                other headings; lasers, other than laser diodes; other optical appliances and
                instruments, not specified or included elsewhere in this chapter; parts and
                accessories thereof:

9013.10                 Telescopic sights for fitting to arms; periscopes; telescopes designed to
                        form parts of machines, appliances, instruments or apparatus of this
                        chapter or section XVI:

9013.80                 Other devices, appliances and instruments:

2 See https:/hivwwJriiicon"com/products/detaHs/sg01   (last visited August 7, 2020).

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                                         *       *      *
9405          Lamps and lighting fittings including searchlights and spotlights and parts thereof,
              not elsewhere specified or included; illuminated signs, illuminated nameplates
              and the like, having a permanently fixed light source, and parts thereof not
              elsewhere specified or included

9405.50               Non-electrical lamps and lighting fittings:

                             Other:

9405.50.40                            Other.

       In understanding the language of the HTSUS, the Explanatory Notes (ENs) of the
Harmonized Commodity Description and Coding System, which constitute the official
interpretation of the HTSUS at the international level, may be utilized. The ENs,
although not dispositive or legally binding, provide a commentary on the scope of each
heading, and are generally indicative of the proper interpretation of the HTS US. See
T.D. 89-80, 54 Fed. Reg. 35127 (August 23, 1989).

The EN to heading 9013, provides, in relevant part:

       This heading includes:


       (5) Telescopic sights for weapons, refracting or reflecting, presented
           separately; optical devices suitable for use with arms and mounted thereon
           or presented with the firearms on which they are designed to be mounted, are
           classified with the arm, see Note 1 (d) to Chapter 93.

The EN to heading 9405 states, in pertinent part, the following:

       Lamps and lighting fittings of this group can be constituted of any material (emphasis
       added) (excluding those materials described in Note 1 to Chapter 71) and use any
       source of light (emphasis added).

         The subject tritium sight inserts are comprised of tritium gas, a glass container,
and interior phosphor coating. Based on the radioactive properties of the tritium gas,
the tritium sight inserts glow in low light situations. Our first consideration is whether the
tritium sight inserts are optical appliances or instruments of heading 9013, HTSUS.

       Additional U.S. Note 3 to Chapter 90 provides that:

       For the purposes of this chapter, the terms "optical appliances" and" optical
       instruments" refer only to those appliances and instruments which incorporate
       one or more optical elements, but do not include any appliances or instruments in
       which the incorporated optical element or elements are solely for viewing a scale
       or for some other subsidiary purpose.

       The tritium sight inserts are used with existing firearm sights. The tritium sight
inserts are not mounted on any type of sight upon importation. CBP has held that


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firearm sights that contain a lens or other optical device are classified under heading
9013, HTSUS. See, e.g., New York Ruling ("NY) N183800, dated September 26, 2011,
NY N193021, December 8, 2011, and NY 086740, dated May 16, 1990. In this case,
the tritium sight inserts do not magnify or enhance the user's vision. The sight with
which the inserts are used accomplishes this. To the extent that the instant inserts
contain optical elements within the meaning of Additional U.S. Note 3 to Chapter 90,
HTSUS, supra, their function is subsidiary to that of creating light to allow the user to
acquire the location of the sight in a darkened environment. As such, the tritium sight
inserts are not covered by heading 9013, HTSUS.

         The requestor has stated that the tritium sight inserts (also referred to as
(trigalight glass tubes)3 consist of hermetically sealed elements that glow visibly for
decades without external energy supply - i.e. without electricity, battery, but also without
sunlight. As a result, we must consider whether the tritium sight inserts are a lamp of
heading 9405, HTSUS, which provides for "[l]amps and lighting ... and parts thereof, not
elsewhere specified or included."

The ENs to heading 9405 state, in pertinent part, the following:

        Lamps and lighting fittings of this group can be constituted of any material
        (emphasis added) (excluding those materials described in Note 1 to Chapter 71)
        and use any source of light (emphasis added).

CBP has consistently defined the term "lamp" as "a device which provides an isolated
source of heat or light." See e.g., HQ H068435, dated October 16, 2009 (snowflake
pathway markers); HQ H042586, dated January 29, 2009 (fiber optic lamp), HQ
966952, dated August 18, 2004 (litecube ), and HQ 965248, dated July 26, 2002 (bubble
lights) (citing The Random House College Dictionary (1973) at 752 and Webster's New
Collegiate Dictionary (1979) at 639). Similarly, in Pomeroy Collection, Inc. v. United
States, the Court of International Trade relied on the definitions of "lamp" and lighting
fittings" in the Explanatory Notes and Merriam-Webster's Collegiate Dictionary (defining
"lamp" as "any of various devices for producing light or sometimes heat"). Pomeroy
Collection, Ltd. v. United States, 893 F. Supp. 2d 1269 (Ct. lnt'I Trade 2013) (Pomeroy
IV) at 1281.

        As entered, the subject tritium sight inserts constitute a lamp because they are a
source of light. The tritium within the tritium sight inserts serves to illuminate an aiming
point in low-light conditions. 4 In addition, on its website the requestor refers to the
tritium sight inserts as lamps. 5 As such, we conclude that the tritium sight inserts meet
the definition of "lamp" as enunciated in earlier CBP Rulings, in that they are devices
that provide a source of light. Therefore, as the goods are lamps that are not specified




3
  See Supplemental submission, dated July 27, 2020.
4
  See https:/hivwwJriiicon"com/support/tedmical-G!ossary#Tritium (last visited August 7, 2020).
5 See https:/hivwwJriiicon"com/products/detaHs/sg01 (last visited August 7, 2020).



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elsewhere in the Nomenclature, they are classified by application of GRI 1 under
heading 9405, HTSUS, and specifically under subheading 9405.50.40, HTSUS. 6

HOLDING:

       By application of GRI 1, the tritium sight inserts are classified in heading 9405,
HTSUS. By application of GRI 6, they are specifically provided for in subheading
9405.50.40, HTSUS, as "Lamps and lighting fittings including searchlights and
spotlights and parts thereof, not elsewhere specified or included; illuminated signs,
illuminated nameplates and the like, having a permanently fixed light source, and parts
thereof not elsewhere specified or included: Non-electrical lamps and lighting fittings:
Other: Other." The column one, general rate of duty is 6% ad valorem.

        Duty rates are provided for your convenience and are subject to change. The
text of the most recent HTS US and the accompanying duty rates are provided on the
internet at www.usitc.gov/tata/hts/.

       Sixty days from the date of this decision, the Office of Trade, Regulations and
Rulings, will make this decision available for CBP personnel, and to the public on the
CBP Home Page at http://www.cbp.gov by means of the Freedom of Information Act,
and other methods of publication.


                                                   Sincerely,
                                                           Digitally signed by
                                                   GREG S GREG   S CONNOR
                                                           Date: 2020.08.17
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                                                   for Craig T. Clark, Director
                                                   Commercial and Trade Facilitation Division




6 Counsel maintains that the tritium sight inserts could also be classified in heading 9022, HTSUS, which
provides for, in part, other apparatus based on the use of beta for other uses. However, 9022, HTSUS,
does not describe the products entirely because it is the glowing colored phosphor that provides visibility
to the user of the firearm as an alignment aide at night or in low-light conditions. This is the whole
purpose of installing the sight inserts in the iron sight block and riflescope assembly. As such, the tritium
sight inserts are properly classified in heading 9405.50.40, HTSUS, as lamps.

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